(Official Form 1) (12/03)

OS-43 11049

 

FORM BI

United States Bankruptcy Court
Western District of Washington

re

Voluntary Petition

 

 

Name of Debtor (if individual, enter Last, First, Middle):
Inman, Gerald Alan

Name of Joint Debtor (Spouse)(Last, First, Middle):

 

All Other Names used by the Debtor in the last 6 years
(include married, maiden, and trade names):

All Other Names used by the Joint Debtor in the last 6 years
Ginelude married, maiden, and trade names):

 

Last four digits of Soc. Sec. No. / Complete EEN or other Tax LD. No.
(if more than one, state all):
1067

Last four digits of Soc. Sec. No. / Complete EEN or otper Fee Pp (if
more than one, state all): Western

=i Sosbin

District of Washin

Gton

 

Street Address of Debtor (No. & Street, City, State & Zip Code):
1105 5th Street Northwest

Street Address of Joint Debtor (No. é& Street, Cityageqy & Zip Saye

 

rt

 

 

 

 

 

Puyallup, WA 98371 iL
County of Residence or of the County of Residence or of the ‘ OU
Principal Place of Business: King Principal Place of Business: rm,

Mailing Address of Debtor (if different from street address): Mailing Address of Joint Debio eefaircnt fh fyess)
1Strj
ato, of Wash: —
Location of Principal Assets of Business Debtor AP R ~ ” 0
(if different from street address above): Ika 2005
Information Regarding the Debtor (Check the Applicablé Bo. Kr [Naa
Venue (Check any applicable box) “sy Ug U it

4 Debtor has been domiciled or has had a residence, principal place of business, or principal assets in this District for 180 days immediately preceding the
date of this petition or for a longer part of such 180 days than in any other District.

O There is a bankruptcy case concerning debtor's affiliate, general parmer,

or partnership pending in this District.

 

Type of Debter (Check all boxes that apply)

i individual(s) CO] Railroad

£0 Corporation CO Stockbroker

CO Partnership (1 Commodity Broker
C Other C1 Clearing Bank

 

Chapter or Section of Bankruptcy Code Under Which
the Petition is Filed (Check one box)

Chapter 7 Ci Chapter 11 Ci chapter £3
E) Chapter 9 C1 Chapter 12

Sec. 304 - Case ancillary to foreign proceeding

 

Nature of Debts (Check one box)
M1 Consumer/Non-Business O) Business

 

Filing Fee (Check one box)
Full Filing Fee Attached

 

Chapter 11 Smali Business (Check all boxes that apply}
C] Debtor is a small business as defined in 11 U.S.C. § 101
Debtor is and elects to be considered a small business under
EEULS.C. § 142 Ee) (Optional)

C) Filing Fee to be paid in installments (Applicable to individuals only)
Must attach signed application for the court's consideration certifying
that the debtor is unable to pay fee except in installments.

Rule 1006(b). See Official Form No. 3.

 

 

Statistical/ Administrative Information (Estimates only)

be no funds available for distribution to unsecured creditors.

(1 Debtor estimates that funds will be available for distribution to unsecured creditors,
Debtor estimates that, after any exempt property is excluded and administrative expenses paid, there will

 

 

 

. . 1-15 16-49 50-99 100-199
Estimated Number of Creditors
raj 0 0
Estimated Assets
Mto $50,001lto $100,001 te $500.00! to $1,000,001 to = $10,
$40,000 $100,000 $500,000 $+ million $10 million $5
oO Oo oO
Estimated Debts
$0to $50,001 ta = $100,001 to $500,001 to $1,000,001 to $10,(
$50,000 = $100,000 $500,000 $1 wiltion $10 million $5u
oO =a] a O QA

 

 

Case 05-43169-PBS Doc 1

200-999
m

1000-over
=

 

Case # : 05-43169-PBS7
Name : GERALD ALAN INMAN
Judge : PAUL SNYDER
Trustee: TANYA PEMBERTON

941: 05/18/05 @ 08:30am
Chapter: 7

Filed ak 2005 09:29:07
Deputy : G RIERKENA

Receipt: 394147

RELIEF ORDERED

Clerk, U.S. Bankruptcy Court
Western District of Washington

Filed 04/07/05 Ent. 04/08/05 09:26:59 Pg. 1 of 45

THIS SPACE [5 FOR COURT USE ONLY’

 
(Official Form 1) (12403)

FORM Bi, Page 2

 

 

Voluntary Petition

{This page must be completed and filed in every case}

Name of Debtor(sGerald Ala man

 

Prior Bankruptcy Case Filed Within Last 6 Years (If more than one, attach additional sheet}

 

 

 

 

 

 

Location Case Number: Date Filed:
Where Filed: NONE
Pending Bankruptcy Case Filed by any Spouse, Partner or Affiliate of this Debtor {If more than one, attach additional sheet)
Name of Debtor: Case Number: Date Filed:
NONE
District: Relationship: Judge:
Signatures

 

Signature(s) of Debtor(s} (Iindividual/Joint)

1 declare under penalty of perjury that the information provided in this
ition is true and correct.
fi-pettione is an individual whose debts are primarily consumer debts and
chosen to file under chapter 7] I ar aware that I may proceed under
chapter 7, 11, 12 or 13 of title 11, United States Code, understand the relief

Exhibit A
'o be completed if debtor is required to file periodic reports
e.g. forms 10Kand 10Q) with the Securities and Exchange
commission pursuant to Section 13 or 15(d} of the Securities
Exchange Act of 1934 and is requesting relief under chapter 11)

DD Exhibit A is attached and made a part of this petition.

 

available under each such chapter, and choose to proceed under chapter 7.
] i relief in accordance with the chapter of title 11, United States Code,
specified in this petition.

 

 

 

Exhibit B
(To be completed if debtor is an individual

 

 

 

 

 

4 Ate Bf ot / | Mtn whose debts are primarily consumer debts)
Signature of Debtor * ‘ I, the attorney for the petitioner named in the foregoing petition, declare that
Thave informed the petitioner that [he or she] may proceed under chapter
x Not Applicable 7, LE, 12, or 13 of title 11, United States Code, and have explained the
relief available under each such chapter.
Signature of Joint Debtor X _ Not Applicable
253-906-8207 Signature of Attomey for Debtor(s) Date
Telephone Number (If not represented by attorney)
3SS-OST Exhibit C
Date Does the debtor own or have possession of any property that poses
. or is alleged to pose a threat of imminent and identifiable harm to
N Signature of Attorney ub lic ae oP fety? ;
X_Not Applicable ia i er
bit C .
Sign of Attorney for Debtor(s a es and Exhibit C is attached and made a part of this petition.

 

 

Printed Name of Attorney for Debtor(s) / Bar No.

 

Firm Name

 

Address

 

 

Telephone Number

 

Date

Signature of Non-Attorney Petition Preparer

I certify that I am a bankruptcy petition preparer as defined in 11 U.S.C. 8
that I prepared this document for compensation, and that I have provided
the debtor with a copy of this document.

Ann Shipley

Printed Name of Bankruptcy Petition Preparer
XXX-XX-XXXX

Social Security Number (Required by 11 U.S.C. § 110(c).)
616 Jason Avenue North,

Address
Kent, WA 98030

 

 

 

 

 

Signature of Debtor (Corporation/Partnership)

T declare under penalty of perjury that the information provided in this
petition is true and correct, and that I have been authorized to file this
petition on behalf of the debtor.

The debtor requests relief in accordance with the chapter of title 11, United
States Code, specified in this petition.

x Not Applicable
Signature of Authorized Individual

 

 

Printed Name of Authorized Individual

 

Title of Authorized Individual

 

Date

Names and Social Security numbers of all other individuals who prepared
or assisted in preparing this document:

Magen Merkle XXX-XX-XXXX

If more than one person prepared this document, attach additional sheets

orming to the appropriate official form for each person.
1
Yas pho

 

 

x
Signature of Ban cy Petition Preparer
HWY. O
Date
A bankruptcy petition arer's failure to comply with the provisions of
title 11 and the Federal Ruies of Bankruptcy Procedure may result in fines

or imprisonment or both. 11 U.S.C. § f10; 18 U.S.C. § 156.

 

 

 

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(Official Form 1) (12/03) @ © FORM B1, Page 3
Name of Debtors: Gerald AlafPToman
Case Number:

[ ADDITIONAL SIGNED SHEETS FOR OTHER BANKRUPTCY PETITION PREPARERS |

 

CERTIFICATION AND SIGNATURE OF NON-ATYORNEY BANKRUPTCY PETITION PREPARERS (See 11 U.S.C. § 110)
I certify that ] am a bankruptcy petition preparer as defined in 1] U.S.C. § 110, that I prepared this document for compensation. and that I have provided
the debtor with a copy of this document.

 

 

Magen Merkle §39-06-8548
Printed or Typed Name of Bankruptcy Preparer Social Security No.
616 Jason Avenue North (Required by 11 U.S.C. § 110(c).)

 

 

Kent, WA 98030
Address

 

 

     

3 i [os

agen Merkie Date

A hankcuptcy petition preparer’s Gaikire to comply with the provision of title 11 and the Federal Rules of Bankmptcy Procedure may result in fines or imprisonment or both. 11 U.8.C. § 110, 18 U.S.C, § 156,

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Form Bé
(60)
United States Bankruptcy Court
Western District of Washington
Inre Gerald Alan Inman Case No.
Chapter 7
AMOUNTS SCHEDULED
NAME OF SCHEDULE AYESINO) NO. OF SHEETS ASSETS LIABILITIES OTHER
A- Real Property YES 1 8 9.00
B- Personal Property YES 3 |§ 2.400.00
C - Property Claimed
as Exempt YES 1
D- Creditors Holding on ee
Secured Claims YES 1 ae $ 0.00
E - Creditors Holding Unsecured :
Priority Claims YES 2 $ 14,669.06 |
F - Creditors Holding Unsecured Co
Norrprionty Ciaime YES 40 - oo 48 48,586.00
G - Executory Contracts and fa Pn
Unexpired Leases YES 4 , cg PE
H- Cadebtors YES 1
|- Currant Income of Co fee me
individual Debtor(s) YES 1 ted. TS 2,255.61
J- Current Expenditures of _— SS 2 -
Individual Debtor(s) YES 1 fs 2.265.00
Total Number of sheets 22 . | ’
in ALL Schedules ”
Total Liabitities > $ 63,255.06

 

 

 

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FORM B6A @ ©

(6/90)

jare: =Geratd Alan inman . Case No.
Debtor (if known)

SCHEDULE A - REAL PROPERTY

 

 

 

 

 

 

& CURRENT
oO > ce ee
OF DEBTO
DESCRIPTION AND ; We INTEREST IN AMOUNT OF
LOCATION OF WYER ge Dopp ey ra PROPERTY WITHOUT SECURED
PROPERTY | se DEDUCTING ANY CLAIM

3S SECURED CLAIM

z x OR EXEMPTION

Oo
g
<=
Total > . 0.00

 

 

 

{Report also on Summary of Schedules.)

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FORM BaB6
{A 089)
Inte Gerald Alan Inman Case No.
Debtor (if known)
SCHEDULE B - PERSONAL PROPERTY
MARKET VALUE OF

TYPE OF PROPERTY

DESCRIPTION AND LOCATION
OF PROPERTY

HUSBAND, WIFE, JOINT
OR COMMUNITY

DEBTOR'S INTEREST

IN PROPERTY, WITH-

OUT DEDUCTING ANY
SECURED CLAIM
GOR EXEMPTION

 

1. Gash on hand

 

2. Checking, savings or other financial
&ccounts, certificates of deposit, or
shares in banks, savings and joan, thrift,
building and loan, and homestead
associations, or credit unions, brokerage
houses, or cooperatives.

 

3. Security deposits with pubiic utilities,
telephone companies, landlords, and
others.

Security Deposit with Terry Robinson Located at:
1513 Wiltow Street
Sumenr, WA 98390

950.00

 

4. Household goods and furnishings,
including audio, video, and computer
equipment.

Household Contents Located at:
1105 15th Street Northwest
Puyallup, WA 99374

750.00

 

5, Books, pictures and other art objects,
eniiques, stamp, coin, record, tape,
compact disc, and other collections or
collectibles.

 

6, Wearing apparel.

Personal Clothing Located in Debtor's Possession

200.00

 

7. Furs and jewelry.

 

8. Firearms and sports, phétographic, and
other hobby equipment.

 

9. Interests in insurance policies. Name
insurance Company of each policy and
itemize surrender or refund value of
each.

 

10. Annuities. emiza and name each
issuer.

 

11. Interests in FRA, ERISA, Keogh, or other
Pension or profit sharing plans. Itemize.

 

12. Stock and interests in incorporated and
unincorporated businesses. hemize.

 

llemize.

13. Interests in partnerships or joint ventures.

 

14. Government and corporate bonds and
other negatiable and nennegotiable
instruments.

 

 

 

 

 

 

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FORM B6B
(10/89)

Inre =Gerald Alan Inman

 

Debtor

Case No.

 

SCHEDULE B - PERSONAL PROPERTY

(Continuation Sheet)

(lt known)

 

TYPE OF PROPERTY

NONE

DESCRIPTION AND LOCATION
OF PROPERTY

HUSBAND, WIFE, JOINT
OR COMMUNITY

CURRENT
MARKET VALUE OF
DEBTOR'S iNTEREST
IN PROPERTY, WITH-
OUT DEDUCTING ANY
SECURED CLAIM
OR EXEMPTION

 

15, Accounts receivable.

 

16. Alimony, maintenance, support, and
property settiements to which the debtor
is of may be entited. Give particulars.

 

17. Other liquidated debts owing debtor
including tax fetunds. Give particulars.

 

18. Equitable or future interests, life estates,
and rights or powers exercisable for the
benefit of the debtor other than those
listed in Schedule of Real Property.

 

19. Contingent and noncontingent interests
in estate of a decedent, death benefit
plan, life inswance policy, or trust

 

20. Other contingent and unliquidated claims
of every nature, including tax refunds,
counterclaims of the debtor, and tights to
setoff claims. Give estimated value of
sath.

 

21. Patents, copyrights, and other intellectual
property. Give particulars.

 

22. Licenses, franchises, and cther genara)
intangibles. Give particulars.

 

23, Automobiles, trucks, trailers, and other
vehicles and accessories.

Possession

1936 Ford Tempo GL
VIN # 1FABP23X16K254071 Located in Debtor's

500.00

 

24. Boals, motors, and accessories.

 

25. Aircraft and accessories.

 

26, Office equipment, furnishings, and
supplies.

 

27. Machinery, fixtures, equipment and
supplies used in business.

 

28. Inveritory.

 

29. Animals.

 

 

 

 

 

 

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FORM 86B
(10/89)
Inre Gerald Alan Inman Case No.
Debtor (if known)
(Continuation Sheet)
& CURRENT
Qe MARKET VALUE OF
wz DEBTOR'S INTEREST
w DESCRIPTION AND LOCATION ZZ IN PROPERTY, WITH-
TYPE GF PROPERTY 3 OF PROPERTY ad OUT DEDUCTING ANY
zx SECURED CLAIM
ac OR EXEMPTION
z
30, Crops - growing or harvesied. Give x
particulars.
31. Farming equipment and implements. X
32. Farm supplies, chernicals, and feed. x
33. Other personal property cf any kind nat x
already listed. Hemize.
2 continuation sheets attached

 

 

Total = * $ 2,400.00

(Include amounts from any continuation sheets
attached, Report total also on Summary of
Schedules.)

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FORM B6C
(6/90)

inve =Gerald Alan inman

, Case No.

 

Debtor.

 

{if known)

SCHEDULE C - PROPERTY CLAIMED AS EXEMPT

Dabter elects the axemption to which debtor is antitied under:

(Check one box)

MitUS.c. § S22(b)(1) Exemptions provided in 11 U.S.C. § 522(d).

Note: These exemptions are available only in certain states.

GO 14 US.C, § 522(b\2) Exemptions available under applicable nonbankruptcy federal laws, state or local law where the debtor's domiciie
has been located for the 180 days immediately preceding the filing of the petition, or for a longer portion of the
180-day period than in any other place, and the debtor's interest as a tenant by the entirely or joint tenant to the

extent the interest is exempt from process under applicable nonbankruptcy law.

 

 

 

 

 

 

 

 

 

CLAIMED VALUE OF PROPERTY,

DESCRIPTION OF PROPERTY PRO eS, Al EXEMPTION WITHOUT DEDUCTING
1986 Ford Tempo GL 41 USC § 522(d)(2) 500.00 500.00
VIN # 1FABP23X16K254071
Located in Debtor's
Possession
Household Contents Located 14 USC § 522(a)(3) 750.00 750.00
at:
1105 15th Street Northwest
Puyallup, WA 98371
| Personal Clothing Located in 14 USC § §22(d}{3} 200.00 200.00
Debtor's Possession
Security Deposit with Terry 11 USC § 522{d){3) 950.00 950.00
Robinson Located at:
1513 Willow Street
Sumenr, WA 98390

 

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FORM B6D
(12/03)

Inve: Gerald Alan Inman
Debtor

SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS

I Check this box if debtor has no creditors holding secured claims to report on this Schedule D.

Case No.

 

(Ht known)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

& | DATE CLAIM WAS INCURRED, AMOUNT
CREDITOR'S NAME, x |SE NATURE OF LIEN, AND 61 Elo OF CLAIM UNSECURED
MAILING ADDRESS ©|W3l  DESCRIPTIONANDMARKET | @ | <| @; (WITHOUT PORTION,
INCLUDING ZIP CODE, B\s VALUE OF PROPERTY 21 5] 2| DEDUCTING IF ANY
AND ACCOUNT NUMBER 5\$8 SUBJECT TO LIEN Z| 3] 2) VALUE OF
(See instructions, above.) ae ol gs COLLATERAL
2
ACCOUNT NO.
VALUE
9 Continuation sheets attached
» $0.00
{Total of this page)
Tots > $0.00
(Use only nn fast page}

Case 05-43169-PBS Doc1_ Filed 04/07/05

{Report total also on Summary of Schedules)

 

 

 

Ent. 04/08/05 09:26:59 Pg. 10 of 45

 
Form BoE @ ©

(12/03)
In re Gerald Alan inman , Case No.

 

 

Debtor (if known)

SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS

[1 Check this box if debtor has no crediters holding unsecured priority claims to report on this Schedule E.

TYPES OF PRIORITY CLAIMS (Check the appropriate box(es) below if claims in that category are listed on the altached sheets)

Cl] Extensions of credit in an involuntary case

Claims arising in the ordinary course of the debtor's business or financial affairs after the commencement of the case but
before the earlier of the appointment of a trustee or the order for relief. 11 U.S.C. § 507(a}(2).

C1 Wages, salaries, and commissions

Wages, salaries, and commissions, including vacation, severance, and Sick leave pay owing to employees and commissions
owing to qualifying independent sales representatives up to $4,650* per person earned within 90 days immediately preceding
the filing of the original petition, or the cessation of business, whichever occurred first, to the extent provided in

110U.5.C. § 507(a}(3).

(J Contributions to employee benefit plans

Money owed to employee benefit plans for services rendered within 180 days immediately preceding the filing of the original
petition, or the cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(4).

C] Certain farmers and fishermen

Claims of certain farmers and fishermen, up to $4,650* per farmer or fisherman, against the debtor, as provided in 11
U.S.C. § 507 (aj(5).

( Deposits by individuals

Claims of individuals up to $2,100" for deposits for the purchase, laase, or rental of property or services for personal,
family, or household use, that were not delivered or provided. 11 U.S.C. § 507(a)(6).

C} Alimony, Maintenance, or Support

Claims of a spouse, former spouse, or child of the debtor for alimony, maintenanca, or support, to the extent provided in
11 U.S.C, § 507(a)(7).

1 Taxes and Certain Other Debts Owed to Governmental Units

Taxes, customs duties, and penalties owing to federal, state, and local governmental units as set forth in 11
U.S.C. § 507(a)(8).

( Commitments to Maintain the Capital of an Insured Depository Institution

Claims based on commitments to the FDIC, RTC, Director of the Office of Thrift Supervision, Comptrolier of the Currency,
or Board of Governors of the Federal Reserve System, or their predecessors or successors, to maintain the capital of
an insured depository institution. 11 U.S.C. § 507(a}(9}.

O) Other Priority Debts

* Amounts are subject to adjustment on April 1, 2004, and every three years thereafter with respect to cases commenced on or
after the date of adjustment.

41 Continuation sheets attached

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Form B6E - Cont.
(12/03)

inte Gerald Alan tnman
Debtor

Case No.

(Hf known}

SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS

(Continuation Sheet)

Type of Priority: Taxes and Certain Other Debts Owed to Governmental Units

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

CREDITOR'S NAME, Z DATE CLAIM WAS la AMOUNT AMOUNT
MAILING ADDRESS 5 SE INCURRED AND CONSIDERATION Zz E a OF CLAIM ENTITLED
INCLUDING ZIP CODE, a {£2 FOR CLAIM 2/8] 5 TO
AND AGGOUNT NUMBER a | 33 él 3\s PRIORITY
(See instructions.) o/ 20 Biz} 4
as 5
oO
z
ACCOUNT NO. 1125232 03/01/1999 xX 966.00 966.00
Allied Credit/ Alliance Collection Agency for Pierce County
717 Constitution Drive District Court
Exton, PA 19344
ACCOUNT NO. 41469090 02/01/2000 xX 150.00 156.00
Allied Credit! Ailiance Collection Agency for Fife Municipal
717 Constitution Drive Court
Exton, PA 19341
ACCOUNT NO. 1913932 03/01/2003 Xx 177.00 177.00
Allied Credit/ Alliance Colfection Agency for Fife Municipal
717 Constitution Drive Court
Exton, PA 19341
ACCOUNT NQ. 1469090 02/01/4999 x 0.00 0.00
Fife Municipal Court Traffic Ticket
3737 Pacific Highway East
Tacoma, WA 98424
ACCOUNT NO. 1518932 03/01/4899 x 0.00 0.60
Fife Municipal Court Traffic Ticket
3737 Pacific Highway East
Tacoma, WA 98424
ACCOUNT NO. §33-54-1067 04/01/1997 x 13,376.06 13,376.06
Internal Reveriue Service Back Taxes Owed
Ogden, UT 84201
ACCOUNT NO. 1125232 03/01/1998 xX 0.00 0.00
Pierce District Court Traffic Ticket
1902 96th Street South
Tacoma, WA 98444
Sheet no. 1 of 4 sheets attached to Schedule of Creditors Holding Priority Claims (Total of tvs pegs} > $14,669.06
Total > $14,669.06

Hise onty on last page of the 5

duie E.)

 

 

 

 

(Report total aise on Summary of Schedules)

Case 05-43169-PBS Doc1 Filed 04/07/05 Ent. 04/08/05 09:26:59 Pg. 12 of 45

 
Form BSF (12/03)

Ince) =>. Gerald Alan Inman

Debtor

Case No.

(If known}

SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS

1 check this box if debtor has no craditers holding unsecured nonpriority claims to report on this Schedule F.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

eK
=
CREDITOR'S NAME, w {2 DATE CLAIM WAS INCURRED ela].
MAILING ADDRESS @/E3| AND CONSIDERATION FOR CLAIM. {= | | AMOUNT OF
INCLUDING ZIP CODE, | 2s IF CLAIM IS SUBJECT TO 2/3 |3 CLAIM
AND ACCOUNT NUMBER g 23 SETOFF, SO STATE 5/% a
(See instructions, above.) as os
2
ACCOUNT NQ. WSH9929753 08/01/1999 XK 88.00
AAA Collectors, Inc. Collection Agency for Angela's
2950 North Academy Blvd. Restaurant
Colorade Springs, CO 80917
ACCOUNTNO. 4999951 | |] 421011997 X 0.00
Albertson's Bounced Check
26100 Pacific Highway South
Kent, WA 98032
AGCOUNTNO. 4999970 | | | otsotnssa X 0.00
Albertson's Bounced Check
26100 Pacific Highway South
Kent, WA 98032
ROCOUNTNO. 4999943 ee Er eee tx} | 0.00
Albertson's Bounced Check
26100 Pacific Highway South
Kent, WA 98032
ACCOUNTNO. 4999958 [ | | 1200171997 OO x 0.00
Albertson's Bounced Check
26100 Pacific Highway South
Kent, WA $8032
9 Continuation sheets attached
Subtotat > $83.00
Total >

Case 05-43169-PBS Doc1 Filed 04/07/05 Ent. 04/08/05 09:26:59 Pg. 13 of 45

 

 

 

 

 

 

 

 

 

 
Form B6F + Cont. @ @

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

(12/03)
inre = Gerald Alan Inman : Cage No.
Debtor (if known)
SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
(Continuation Sheet)
5
CREDITOR'S NAME, Sr DATE CLAIM WAS INCURRED E18
MAILING ADDRESS 5 #3| AND CONSIDERATION FOR CLAIM. qi f a | AMOUNT OF
INCLUDING ZIP CODE, B| es IF CLAIM IS SUBJECT TO Z/5] 2 CLAIM
AND ACCOUNT NUMBER 8{2o SETOFF, SO STATE 2/316
(See instructions, above.) °) as | 2
=a
=z
ACCOUNTNO. 4999960 12/01/1997 x 0.00
Albertson's Bounced Check
26100 Pacific Highway South
Kent, WA 98032
ACCOUNT NO. 4999929 ET J ormires7 . . X 0.00
Albertson's Bounced Check
26100 Pacific Highway South
Kent, WA 98032
ACCOUNTNO. 4999947 | | | 12011997 . x 0.00
Albertson's Bounced Check
26100 Pacific Highway South
Kent, WA 93032
a ee.
ACCOUNTNO. 4999985 | | | 12001/1997 Xx 0.00
Albertson's Bounced Check
26100 Pacific Highway South
Kent, WA 98032
ACCOUNTNO. 4077995 _t | | azowtge8 X 254.00
Allied Credit! Alliance Collection Agency for Sound Credit
717 Constitution Drive Union
Exton, PA 19341
oe
Sheet no, 4 of § continuation sheets attached to Schedule of Creditors Holding Unsecured Nonpriority Suttolal > $254.00
Clai {Total of ths page)
Total »

{Rlee only of inet page of the completed Schedule F.)

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Form B6F - Cont.
(12/03)

Inte Gerald Alan Inman

 

Debtor

Cage No.

(Hf known}

SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Sheet no. 2 of 9 continuation sheets attached to Schedule of Creditors Holding Unsecured Nonpriority

Ciaims

 

 

 

 

Tertat
(Use onty on last page of the completed Schedule F.)

Subigtat
(Total of thia page)

*

*

 

(Continuation Sheet}
5
CREDITOR'S NAME, SF DATE CLAIM WAS INCURRED &| ¢
MAILING ADDRESS 5 £5 AND CONSIDERATION FOR CLAIM. a & g AMOUNT OF
INCLUDING ZIP CODE, a1 ss IF CLAIM IS SUBJECT TO z2|3\2 CLAIM
AND ACCOUNT NUMBER 8| 28 SETOFF, SO STATE 2\|2/a
(See instructions, above.) ° | ae | z
z

ACCOUNTNO.  WSH9929759 08/01/1998 X 9.00
Angela's Restaurant Bounced Check

807 Marina Village Parkway

Alameda, CA 94501

ACCOUNTNO. 29844457384 _{ |] o2o1g95 x 3,526.00
Benificial Misc. Credit Card Purchases

P.O. Box 1547

Chesapeake, VA 23327

ACCOUNT NO. 920474811257 | FT] oso1s08 x 2,937.00
Benificial Misc. Credit Card Purcases

2700 Sanders Road

Prospect Heights, Il. 60070

. _ _ oO IL. ee

ACCOUNTNO. 9217480014 | | | o6rot1998 x 3,865.00
Benificial / HFC Misc. Credit Card Purchases

P.O. Box 5985

Bridgewater, NJ 23327
ACCOUNTING. O272 | | Jowov2z00z x 9,000.00
Creditors Specialty SE Collection Agency for Westop Credit

P.O. Box 764 Union

Acton, CA 93510

_ ee PT

 

 

$19,328.00

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Form BoF - Cont.
(12/03)

Inre Gerald Alan Inman
Debtor

Case No,

(if krrown)

SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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i.
CREDITOR'S NAME, Se DATE CLAIM WAS INCURRED e182
MAILING ADDRESS ©{#3] AND CONSIDERATION FOR CLAIM. @| = |B] AMOUNT OF
INCLUDING ZIP CODE, a 3 IF CLAIM IS SUBJECT TO z|3\2 CLAIM
AND ACCOUNT NUMBER 8)\20 SETOFF, SO STATE 2)3]4
(See instructions, above.) ° | as atz
2
=
ACCOUNT NO. 4441712262230 07/01/1994 X 0.00
First USA Bank Misc. Credit Card Purchases
P.O, box 8650
Wilmington, DE 19399
ACCOUNTNO. 3B _| | | e7m1997 X 0.00
Fred Meyer Bounced Check
10201 Southeast 240th
Kent, WA 98032
ACCOUNTNO. 604589118053 |. |_| osvoins96 x 200.00
GEME / Mervyn's Misc. Credit Card Purchases
P.O. Box 981400
El Paso, TX 79998
ACCOUNTNG. 44829229001 me re : / x 3,000.00
HHLD Bank Misc. Credit Card Purchases
P.O. Box 98706
Las Vegas, NV 89193
ACCOUNTNO. 5 44292290016433 [|] ttto1993 x 3,000.00
HHLD Bank Misc. Credit Card Purchases
P.O. Box 98706
Las Vegas, NV 39193
oe bod
Sheet no. 3 of 9 continuation sheets attached ta Schedule of Creditors Halding Unsecured Nonprianty Cr $6,200.00
Craims {Total of this page}
Total >

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Form B6F - Cont.
(12/03)

inre = Geraid Alan Inman Case No.

Debtor {If known)
SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
{Continuation Sheet)
5
CREDITOR'S NAME, SE DATE CLAIM WAS INCURRED 61a
MAILING ADDRESS 5|t!3) AND CONSIDERATION FOR CLAIM. | |) AMOUNT OF
INCLUDING ZIP CODE, B/S iF CLAIM IS SUBJECT TO #\/5 |e CLAIM
AND ACCOUNT NUMBER 8 ze SETOFF, SO STATE a1S43
(See instructions, above.) aS O1s
z

accounTNo. 790105300071 07/01/1997 X 1,883.00

HS6&C / Eagle Misc. Credit Card Purchases

200 enificial Center

Peapack, NJ 67977

AOCOUNTNO. 4999929 | | joins x 402.00

OS! Collections Services Collection Agency for Albertson's

P.O. Box 976

Brookfiel, Wi 53008

ACCOUNTNO. 1 99QA7 | | “tazowtess x 64.00

OS! Collections Services Collection Agency for Albertson's

P.O. Box 976

Brookfiel, WI 53008

- __—_—_ 4

ACCOUNTING. 4999965 | [| 42f01/1998 x 126.00

OSI Collections Services Collection Agency for Albertson's

P.O. Box 976

Brookfiel, Wi 53008
ACCOUNTRO. 1999960 ~[ [ fraowisss x 123.00

OS! Collections Services Collection Agency for Albertson's

P.O. Box 976

Brookfiel, Wi 53008
Sheet no. 4 of 9 continuation sheets attached fo Schedule of Creditors Holding Unsecured Nonpriority Subtotal > $2,298.00

Claims

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Inre =©6.Gerald Alan Inman

Case No.

 

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SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS

(Continuation Sheet)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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Qa
CREDITOR'S NAME, RE DATE CLAIM WAS INCURRED E| g
MAILING ADDRESS {US| AND CONSIDERATION FOR CLAIM. @|& | @| AMOUNT OF
INCLUDING ZIP CODE, | 23 IF CLAIM IS SUBJECT TO z|5\2 CLAIM
AND ACCOUNT NUMBER 9 Zo SETOFF, SO STATE z}2)38
(See instructions, above.) as oO) s
z
AGCOUNT NO. 1999958 12/01/1998 xX 103.00
OSI Collections Services Collection Agency for Albertson's
P.O. Box 976
Brookfiel, WI 53008
AGCOUNTNO. 4999943 | | | 420011998 x 151.00
OSI Collections Services Callection Agnecy for Albertson's
P.O. Box 976
Brookfiei, Wi 530038
ACCOUNT NO. 1999954 | |_| 12/01/1998 x 86.00
OSI Collections Services Collection Agency for Albertson's
P.G. Box S76
Brookfiel, Wi 53008
ACCOUNTNO. 4999870 | |. J otm1ne99 x 69.00
OSI Collections Services Collection Agency for Albertson's
P.O. Box 976
Brookfiel, WI 53008
ACCOUNTNO. 4999969 [| _] 120011998 1x 80.00
OSI Collections Services Collection Agency for Albertson's
P.O. Box 976
Brookfiel, Wi 53008
L ao a
Sheet no. 5 of 9 continuation sheets attached to Schedute of Creditors Holding Unsecured Nonpriority Subtolat > $489.00
Claims (Total of this page}
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inre)§=6s Gerald Alan Inman
Debtor

Case No.

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SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS

(Continuation Sheet)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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z
CREDITOR'S NAME, SE DATE CLAIM WAS INCURRED bia
MAILING ADDRESS ©|#'3| AND CONSIDERATION FOR CLAIM. fj) | &| AMOUNT OF
INCLUDING ZIP CODE, i if CLAIM 1S SUBJECT TO 21s |e CLAIM
AND ACCOUNT NUMBER 3 26 SETOFF, SO STATE Z2)8 [a
(See instructions, above.) aS OTs
#
ACCOUNTNO. «44470 07/01/1999 x 2,217.00
Pacific Northwest Collection Collection Agency for Park Medows
819 Pacific Avenue Apartments
Tacoma, WA $8402
ACCOUNTING. 544170 [ [| 120014998 x 93.00
Pacific Northwest Collection Collection Agency for Summit Trading
819 Pacific Avenue
Tacoma, WA 98402
ACCOUNT NO. 514170 [ | O7/01/4 998 x 0.00
Park Medows Apartments Rent Owed for Vacated Apartment
10550 Lake City Way
Seattle, WA 98125
ACCOUNTNG. —_-44164090560124990 L_L__} o2o1999 x 0.00
Patric Beug, DDS Medicat Sill
2802 South Meridian
Puyallup, WA 98373
ACCOUNTNO. _ Q4QQSO5674 TT J osits995 © x | 1,298.00
Providian Bank Corp Misc. Credit Card Purchases
4940 Johnson DR
Pleasington, CA 94566
Sheet no. 6 of 9 continuation sheets attached to Schedule of Creditors Holding Unsecured Nonpriority Suttotat $3,605.00
Claims (Total of this page)

Total
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wra Gerald Alan Inman

Case No.

(If known)

SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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r3
CREDITOR'S NAME, «|°5 DATE CLAIM WAS INCURRED erate
MAILING ADDRESS ars AND CONSIDERATION FOR CLAIM. Gi {a} AMOUNT OF
INCLUDING ZIP CGDE, 2 33 iF CLAIM IS SUBJECT TO z/ 81> CLAIM
AND ACCOUNT NUMBER 6120 SETOFF, SO STATE Zz g\8
(See instructions, above.) 7 | as 5, z
2
ACCOUNT NO. 12 05/01/1997 x 0.00
Safeway Bounced Check
17051 Southeast 272nd Street
Gavington, WA 98042
— ae TXT — | —_—_-
ACCOUNTNO 42 Lt | osrotrt998 x 127,00
SCA Credit Inc. Collection Agency for Safeway Store
P.O, Box 5787
Bellevue, WA 928003
ACCOUNT. 99052243 |_| _] o2ro1se99 x 4,996.00 |
SCA Credit Inc. Collectio Agency for Signature Bail
P.O. Box 5757 Bond
Bellevue, WA 98008
ee | 4 oo re
ACCOUNT. 38 | |] ov1998 mera 239.00
Seattle Service Bureau Collection Agency for Fred Meyer
18820 Aurora Avenue
Shoreline, WA 98133
ACCOUNT NO. 99052243 [ | 02/01/1998 x 0.00
Signature Bail Bond Unpaid Bail
428 Elm
Republic, WA 99166
ood ee
Sheet no. 7 of 9 continuation shetts atfached to Schedule of Creditors Holding Unsecured Nonpriority Subtatl
Claims (Total of this page)
Total >

 

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Debtor

Case No.

 

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SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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é
CREDITOR'S NAME, SE DATE CLAIM WAS INCURRED | a
MAILING ADDRESS 151 AND CONSIDERATION FOR CLAIM. {| @| AMOUNT OF
INCLUDING ZIP CODE, a | 33 IF CLAIM IS SUBJECT TO 2/3 | 2 CLAIM
AND ACCOUNT NUMBER 9 25 SETOFF, SO STATE 8 g a
(See instructions, above.) 2% 3
D
i
ACCOUNT NO. 1475540400 09/01/1997 x 5,323.00
Sound Credit Union Misc. Credit Card Purchases
P.O. Box 1595
Tacoma, WA 98404
ACOOUNTNO. 477995 | | | 120171997 rae 0.00
Sound Credit Union Closed Bank Account
P.O. Box 1595
Tacoma, WA 98401
ACCOUNT NO. 179570400 i 09/011 997 . - | xX §,323.00
Sound Credit Union Misc. Credit Card Purchases
P.Q, Box 1595
Tacoma, WA 98401
ACCOUNT NO. 514170 il 4210111997 x 0.00
Summit Trading Bounced Check
10409 Canyon Road East :
Puyallup, WA 93373
a ee, Sd — + es
ACCOLNTNO. 14 464090560124990 |_| | o2ro1/2000 x 317.00
Trojan Professional Service Collection Agency for Patric Beug DDS
P.O. Box 1270
Los Alamos, CA 96720
od
Sheet ng. 8 of 9 continuation sheets attached to Schedule of Creditors Holding Unsecured Nonpricrity Sublotat $10,963.00
Claims (Total of this page)
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SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
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z
CREDITOR'S NAME, ae | 3 DATE CLAIM WAS INCURRED eIat.
MAILING ADDRESS 2123] AND CONSIDERATION FOR CLAIM. m| & | a} AMOUNT OF
INCLUDING ZIP CODE, a[ 33 IF CLAIM IS SUBJECT TO z|S|2 CLAIM |
AND ACCOUNT NUMBER 3 Zo SETOFF, SO STATE 4/2/32
(See instructions, above.) “las & | z
z
ACCOUNT NO. 80272 91/01/2001 XxX 0.00
Westop Credit Union Persona] Loan
2806 East Portland Avenue
Tacoma, WA 98404
ee _
Sheet no. ¢ of 9 continuation sheets attached to Schedule of Creditors Holding Unsecured Nonpriarity Sublet > $0.00 \
Claims (Total of this page}
To > $48,586.00
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{Repo atso on Summary of Schedules}

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Form B&G @ ®

(10/a9)

Inte: Gerald Alan inman | Case No.

 

Debtor {If known)

SCHEDULE G - EXECUTORY CONTRACTS AND UNEXPIRED LEASES

Bf Check this box if debtor has no executory contracts or unexpired leases.

 

DESCRIPTION OF CONTRACT OR LEASE AND NATURE OF

NAME AND MAILING ADDRESS, INCLUDING ZIP CODE, DEBTOR'S INTEREST, STATE WHETHER LEASE IS FOR
OF OTHER PARTIES TO LEASE OR CONTRACT. NONRESIDENTIAL REAL PROPERTY. STATE CONTRACT

NUMBER OF ANY GOVERNMENT CONTRACT.

 

 

 

 

 

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(6/90)

inve: Gerald Alan Inman 1 ase No.
Gebtor {if known)

SCHEDULE H - CODEBTORS

M4 Check this box if debtor hag no codebtors.

 

 

NAME AND ADDRESS OF CODEBTOR NAME ANDO ADDRESS OF CREDITOR

 

 

 

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Form Bé]
(1203)

In re Gerald Alan Inman

 

Debtor

, Case No.

 

(if known)

SCHEDULE | - CURRENT INCOME OF INDIVIDUAL DEBTOR(S)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Debtor's Marital
Status: Single DEPENDENTS OF DEBTOR AND SPOUSE
Debtor's Age: 48 RELATIONSHIP AGE
Spouse's Age: Daughter 18
Daughter 16
EMPLOYMENT: DEBTOR SPOUSE
Occupation Maintnance
Name of Employer Delta Marine
How long employed 5 years
Address of Employer = 4g South 96th Street
Seattie, WA 98100

Income: {Estimate of average monthly income) DEBTOR SPOUSE
Current monthly gross wages, salary, and commissions
{pro rate if not paid monthly.) $ 3,249.98 $
Estimated monthly overtime $0
SUBTOTAL $ 3,249.98 $

LESS PAYROLL DEDUCTIONS ;

a. Payroll taxes and social security $ 994.36 3

b. Insurance $ 0.00 §

¢, Union dues $ 9.00 ¢

d. Other (Specify) $ 0.00 §

SUBTOTAL OF PAYROLL DEDUCTIONS $ 994.36 $

TOTAL NET MONTHLY TAKE HOME PAY $ 2,255.61 $
Regular income from operation of business or profession or farm
{attach detailed statement} $ 0.00 $
Income from real property $ @.00 $
Interest and dividends $ 0.00 ¢
Alimony, maintenance or support payments payable to the debtor for the
debtor's use or that of dependents listed above. § 0.00 ¢
Social security or other government assistance
(Specify) $ 0.00 ¢
Pension or retirement income $ _ 0.00 $
Other monthly income
(Specify) $ 0.00 $
TOTAL MONTHLY INCOME $ 2,255.61 $

TOTAL COMBINED MONTHLY INCOME $ 2,255.64

 

 

 

 

(Report aiso on Summary of Schedules}

Describe any increase or decrease of more than 10% in any of the above categories anticipated to occur within the yeer following

the filing of this document: NONE

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Farm Bs)
(6/90)

inre Gerald Alan inman

 

Debtor

Case No.

(if Known)

SCHEDULE J - CURRENT EXPENDITURES OF INDIVIDUAL DEBTOR(S)

[CT] Cheek this box if a joint petition is filed and debtor's spouse maintains a separate household. Complete a separate

schedule of expenditures labeled "Spouse".

 

 

 

 

 

Rent or home mortgage payment (include lot rented for mobile home) § 4,150.00
Are real estate taxes included? Yes No ¥
is property insurance included? Yes “NO ¥
Utilities Electricity and heating fuel Te ~ $ 150.00
Water and sewer $ 0.00
Telephone $ 25.00
Other Cellular Telephone $ 90.00
Home maintenance {repairs and upkeep} $ 0.00
Faod $ 350.00
Clothing $ 100.00
Laundry and dry cleaning $ 50.00
Madical and dental expenses $ 50.00
Transportation (not including car payments) $ 200.00
Recreation, clubs and entertainment, newspapers, magazines, etc. $ 0.00
Charitable contributions $ 0.00
Insurance {not deducted from wages or included in home mortgage payments}
Homeowner's or renter's $ 0.00
Life $ 0.00
Heaith $ 0.00
Auto $ 0.00
Other $ 0.00
Taxes (not deducted from wages or included in home mortgage payments}
(Specify) $ 0.00
Installment payments: (in chapter 12 and 13 cases, do nat list payments to be included in the pian)
Auto $ 0.00
Other Loan from Parents $ 100.00
Alimony, maintenance or support paid to others $ 0.00
Payments for support of additional dependents not living at your home $ 0.00
Regular expenses from operation of business, profession, or farm (attach detailed statement) $ 0.00
Other $ 0.00
TOTAL MONTHLY EXPENSES (Report alsa on Summary of Schedules} $ 2,265.00

[FOR CHAPTER 12 AND 13 DEBTORS ONLY]

Provide the information requested batow, including whether plan payments ara to be made bi-weekly, monthly, annually, or at

some other regular interval.

A. Total projected monthly income

8. Total projected monthly expenses

C. Excess income (A minus B)

D. Fotai amount to be paid into plan each

 

 

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{interval)

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Official Form 4 - Cont .

(1203)

In re: Gerald Alan Inman : Case No.

Debtor Uf known)

DECLARATION CONCERNING DEBTOR'S SCHEDULES

DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR

 

I deciare under penaity of perjury that | have read the foregoing summary and schedules, consisting of 22
(Total shown on summary page plus 1.)

sheets plus the summary page, and that they are true and correct te the best of my knowledge, information, and belief.

Date: 8 ma ¥- Os” Signature: Mutt kh \MtniterD

Gerald Alan Inman

(if joint case, both spouses must sign]

” CERTIFICATION AND SIGNATURE OF NON-ATTORNEY BANKRUPTCY PETITION PREPARER (See 1 17 U.S.C. 4 110)

| certify that i am @ bankruptcy petitioner preparer as defined in 11 U.S.C. § 110, that | prepared this document for compensation, and that I have
provided the debtor with a copy of this document.

 

 

 

 

Ann Shipley §02-88-7719
Printed or Typed Name of Bankruptcy Petition Preparer Social Security Number
(Required by 11 U.S.C. § 110(C).} ;
616 Jason Avenue North
Kent, WA 99030
Address
Name and Social Security numbers of all other individuals who prepared or assisted in preparing this document.
NAME SOCIAL SECURITY NUMBER
Magen Merkle XXX-XX-XXXX

If more than one person prepared this document, attach additional signed sheets conforming to the appropriate Official Form for each person.

B-|4- 5

Signature of Bankrup y Pétijion Preparer Date

 

@ bankruptcy petition preparer's failure to comply with the provisions of tiie 11 and the Federal Rules of Bantruptey Procedure may result in fines or imprisonment or both. 11 U.5.0 §
110; 18 U.S.C. § 156.

DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP

(NOT APPLICABLE)

 

Penalty for making a faise statement or concealing property. Fine of up to $500,000 or imprisonment for up to 5 years or both. 18 U.S.C §§ 152 and 357.

Case 05-43169-PBS Doci1_ Filed 04/07/05 Ent. 04/08/05 09:26:59 Pg. 27 of 45
CERTIFICATION AND SIGNATURE OF NON-ATTORNEY BANKRUPTCY PETITION PREPARER (See 11 U.S.C. § 110)

| certify that | am a bankruptcy petitioner preparer as defined in +1 U.S.C. § 110, that | prepared this document for
compensation, and that i have provided the debtor with a copy of this document.

 

 

Magen Merkle XXX-XX-XXXX
Pri T f Bankruptcy Petition Pi Social Security Number

rinted or Typed Name of Bankruptcy Petition Preparer Required by it USC § 140(C))
616 Jason Avenue North

 

Kent, WA 98030

MA 3 i

Signature of Bankruptcy Petition Preparer

A bankruptcy petition prepaner's failure to comply with the provisions of title Jf and the Federal Rules of Bankruptcy Procedure may result in fines or imprisonment or bath.
11U.5.6 § 110, 18 U.S.C. § 156.

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Form 7
(12/03)
UNITED STATES BANKRUPTCY COURT
Western District of Washington
Inte: Gerald Alan Inman Case No.

 

1067 Chapter 7

STATEMENT OF FINANCIAL AFFAIRS

 

1. Income from employment or operation of business

None State the gross amount of income the debtor has received from employment, trade, or profession, or from
[} operation of the debtor's business from the beginning of this calendar year to the date this case was
commenced, State also ihe gross amounts received during the two years immediately preceding this
calendar year. (A debtor that maintains, or has maintained, financial records on the basis of a fiscal rather
than a calendar year may report fiscal year income. Identify the beginning and ending dates of the debtor's
fiscal year.) If a joint petition is filed, state income for each spouse separately. (Married debtors filing under

chapter 12 or chapter 13 must state income of both spouses whether or not a joint petition is filed, unless the
spouses are separated and a joint petition is not filed.)

ANOUNT SOURCE FISCAL YEAR PERIOD
40,445.77 Delta Marine 2003

38,873.30 Delta Marine 2004

3,450.00 Delta Marine 2005 - YTD

 

2. Income other than from employment or operation of business
None

State the amount of income received by the debtor other than from employment, trade,
profession, or operation of the debtor's business during the two years immediately preceding the
commencement of this case. Give particulars. if a joint petition is filed, state income for each
spouse separately, (Married debtors filing under chapter 12 or chapter 13 must state income for
each spouse whether or not a joint petition is filed, unless the spouses are separated and a joint
petition is not filed.)

AMOUNT SOURCE FISCAL YEAR PERIOD

 

3. Payments to creditors
None

a. List all payments on loans, installment purchases of goods or services, and cther debts,
aggregating more than $600 to any creditor, made within 90 days immediately preceding the
cammencement of this case. (Martied debtors filing under chapter 12 or chapter 13 must include
payments by either or both spouses whether or not a joint petition is filed, unless the spouses are
separated and a joint petition is not filed.)

DATES OF AMOUNT AMOUNT
NAME AND ADDRESS OF CREDITOR PAYMENTS PAID STILL OWING

 

b. List all payments made within one year immediately preceding the commencement of this case
to or for the benefit of creditors who are or were insiders. (Married debtors filing under chapter 12
or chapter 13 must include payments by either or both spouses whether or not a joint petition is
filed, unless the spouses are separated and a joint petition is not filed.)

None

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None

None

None

None

NAME AND ADDRESS OF CREDITOR DATES OF AMOUNT
AND RELATIONSHIP TO DEBTOR PAYMENTS AMOUNT PAID STILL OWING

 

4. Suits and administrative proceedings, executions, garnishments and attachments

a. List all suits and administrative proceedings to which the debtor is or was a party within one year
immediately preceding the filing of this bankruptcy case. (Married debtors filing under chapter 12 or
chapter 13 must include information conceming either or both spouses whether or not a joint petition is

filed, unless the spouses are separated and a joint petition is not filed.)

CAPTION OF SUIT COURT OR AGENCY STATUS OR
AND CASE NUMBER NATURE OF PROCEEDING AND LOCATION DISPOSITION

 

b. Describe all property that has been attached, garnished or seized under any legal or equitable
process within one year immediately preceding the commencement of this case. (Married debtors
filing under chapter 12 or chapter 13 must include information conceming property of either or both
spouses whether or not a joint petition is filed, unless the spouses are separated and a joint
petition is not filed.)

NAME AND ADDRESS DESCRIPTION
OF PERSON FOR WHOSE BATE OF AND VALUE OF
BENEFIT PROPERTY WAS SEIZED SEIZURE PROPERTY

 

§. Repossessions, foreclosures and returns

List all property that has been repossessed by a creditor, sold at a foreciosure sale,

transferred through a deed in lieu of foreclosure or returned to the seller, within one year
immediately preceding the commencement of this case. (Married debtors filing under chapter 12
or chapter 13 must include information concerning property of either or both spouses whether or
not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

DATE OF REPOSSESSION, DESCRIPTION
NAME AND ADDRESS FORECLOSURE SALE AND VALUE OF
OF GREDITOR OR SELLER TRANSFER OR RETURN PROPERTY

 

6 Assignments and receiverships

a. Describe any assignment of property for the benefit of creditors made within 120 days
immediately preceding the commencement of this case. (Married debtors filing under chapter 12
or chapter 13 must inciude any assignment by either or both spouses whether or not a joint petition
is filed, unless the spouses are separated and a joint petition is not filed.)

TERMS OF
NAME AND ADDRESS DATE OF ASSIGNMENT
OF ASSIGNEE ASSIGNMENT OR SETTLEMENT

Case 05-43169-PBS Doci1 Filed 04/07/05 Ent. 04/08/05 09:26:59 Pg. 30 of 45
None

None

None

None

None

b. List all property which has been in the hands of a custodian, receiver, or court-appointed official
within one year immediately preceding the commencement of this case. (Married debtors filing
under chapter 12 or chapter 13 must include information concerning property of either or both
spouses whether or not a joint petition is filed, unless the spouses are separated and a joint
petition is not filed.)

NAME AND ADDRESS DESCRIPTION
NAME AND ADDRESS OF COURT DATE OF AND VALUE OF
OF CUSTODIAN CASE TITLE & NUMBER ORDER PROPERTY

 

7. Gifts

List all gifts or charitable contributions made within one year immediately preceding the
commencement of this case except ordinary and usual gifts to family members aggregating less
than $200 in value per individual family member and charitable contributions aggregating less
than $100 per recipient. (Married debtors filing under chapter 12 or chapter 13 must include gifts
or contributions by either or both spouses whether or not a joint petition is fled, unless the spouses
are separated and a joint petition is not filed.)

 

NAME AND ADDRESS RELATIONSHIP DESCRIPTION
OF PERSON TO DESTOR, DATE AND VALUE OF
OR ORGANIZATION iF ANY OF GIFT GIFT

8. Losses

List all losses from fire, theft, other casualty or gambling within one year immediately preceding

the commencement of this case or since the commencement of this case. (Married debtors filing
under chapter 12 or chapter 13 must include losses by either or both spouses whether or not a

joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

DESCRIPTION DESCRIPTION OF CIRCUMSTANCES AND, IF
AND VALUE OF LOSS WAS COVERED IN WHOLE OR IN PART DATE OF
PROPERTY BY INSURANCE, GIVE PARTICULARS LOSS

 

9. Payments related to debt counseling or bankruptcy

List all payments made or property transferred by or on behalf of the debtor to any persons,
including attomeys, for consultation concerming debt consolidation, retief under the bankruptcy law
of preparation of a petition in bankruptcy within one year immediately preceding the commencement
of this case.

NAME AND ADDRESS

DATE OF PAYMENT, AMOUNT OF MONEY OR
OF PAYEE NAME OF PAYOR IF DESCRIPTION AND VALUE
OTHER THAN DEBTOR OF PROPERTY
Ann Shipley 2-16-05 $300.00
616 Jason Avenue North
Kent, WA 98030

 

10. Other transfers

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a. List all other property, other than property transferred in the ordinary course of the business or
financial affairs of the debtor, transferred either absolutely or as security within one year
immediately preceding the commencement of this case. (Married debtors filing under chapter 12
or Chapter 13 must include transfers by either or both spouses whether or not a joint petition is
filed, unless the spouses are separated and a joint petition is not filed.)

DESCRIBE PROPERTY
NAME AND ADDRESS OF TRANSFEREE, TRANSFERRED
RELATIONSHIP TO DEBTOR DATE AND VALUE RECEIVED

 

11. Closed financial accounts

None

List all financial accounts and instruments heid in the name of the debtor or for the benefit of

the debtor which were closed, sold, or otherwise transferred within one year immediately preceding
the commencement of this case. Include checking, savings, or other financial accounts,
certificates of deposit, or other instruments; shares and share accounts held in banks, credit
unions, pension funds, cooperatives, associations, brokerage houses and other financial
institutions. (Married debtors filing under chapter 12 or chapter 13 must include information
concerning accounts or instruments held by or for either or both spouses whether or not a joint
petition is fied, unless the spouses are separated and a joint petition is not filed.)

TYPE OF ACCOUNT, LAST FOUR AMOUNT AND
NAME AND ADDRESS DIGITS OF ACCOUNT NUMBER, DATE OF SALE
OF INSTITUTION AND AMOUNT OF FINAL BALANCE OR CLOSING

 

12. Safe deposit boxes

None

List each safe deposit or other box or depository in which the debtor has or had securities,

cash, or other valuables within one year immediately preceding the commencement of this case.
(Married debtors filing under chapter 12 or chapter 13 must include boxes or depositories of either
or both spouses whether or not a joint petition is filed, unless the spouses are separated and a
joint petition is not filed.)

NAME AND ADDRESS NAMES AND ADDRESSES DESCRIPTION DATE OF TRANSFER
OF BANK OR OF THOSE WITH ACCESS OF OR SURRENDER,
OTHER DEPOSITORY TO BOX OR DEPOSITORY CONTENTS IF ANY

 

13. Setoffs

None

List all setoffs made by any creditor, including a bank, against a debt or deposit of the debtor

within 90 days preceding the commencement of this case. {Married debtors filing under chapter 12
or chapter 13 must include information conceming either or both spouses whether or not a joint

petition is filed, unless the spouses are separated and a joint petition is not filed.)

DATE OF AMOUNT OF
NAME AND ADDRESS OF CREDITOR SETOFF SETOFF

 

14. Property held for another person
None

List all property owned by another person that the debtor holds ar controls.

NAME AND ADDRESS DESCRIPTION AND VALUE
OF OWNER OF PROPERTY LOCATION OF PROPERTY

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None

None

None

None

None

15. Prior address of debtor

If the debtor has moved within the two years immediately preceding the commencement of this
case, list all premises which the debtor occupied during that period and vacated prior to the
commencement of this case. If a joint petition is filed, report also any separate address of either

spouse.
ADDRESS NAME USED DATES OF OCCUPANCY
1406 12th Avenue Northwest Geraid Inman 8/2001-12/2004
Puyallup, WA 98371

 

16. Spouses and Former Spouses

If the debtor resides or resided in a community property state, commonwealth, or territory Gncluding Alaska, Arizona,
Califomia, idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or Wisconsin) within the six-year period
immediately preceding the commencement of the case, identify the name of the debtor 's spouse and of any former spouse
who resides or resided with the debtor in the community property state.

NAME

Robin Inman

 

17. Environmental Information.

For the purpose of this question, the following definitions apply:

"Environmental Law" means any federal, state or local statute or regulation regulating pollution, contamination, releases of
hazardous or toxic substances, wastes or material into the air, iand, soil, surface water, groundwater, or other medium,
including, but not limited to, statutes or regulations regulating the cleanup of these substances, wastes, or material.

"Site" means any location, facility, or property as defined under any Environmental Law, whether or not presently or
formerly owned or operated by the debtor, including, but not limited to, disposal sites.

"Hazardous Material” means anything defined as a hazardous waste, hazardous substance, toxic substance,
hazardous material, pollutant, or contaminant or similar term under an Environmental Law.

a. _ List the name and address of every site for which the debtor has réceived notice in writing by 4 governmental unit that
it may be iiable or potentiaily tiable under or in violation of an Environmental Law. Indicate the governmental unit, the date of
the notice, and, if known, the Environmental Law.

SITE NAME AND NAME AND ADDRESS DATE OF ENVIRONMENTAL
ADDRESS OF GOVERNMENTAL UNIT NOTICE LAW

 

b. List the name and address of every site for which the debtor provided notice to a governmental unit of a release of
Hazardous Material. Indicate the governmental unit to which the notice was sent and the date of the notice.

SITE NAME AND NAME AND ADDRESS DATE OF ENVIRONMENTAL
ADDRESS OF GOVERNMENTAL UNIT NOTICE LAW

 

c. List all judicial or administrative proceedings, including settlements or orders, under any Environmental Law with
respect to which the debtor is or was a party. Indicate the name and address of the governmental unit that is or was a party
to the proceeding, and the docket number.

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None

None

NAME AND ADDRESS DOCKET NUMBER STATUS OR
OF GOVERNMENTAL UNIT DISPOSITION

 

48. Nature, location and name of business

a. If the debtor is an individual, list the names, addresses, taxpayer identification numbers, nature of the businesses,
and beginning and ending dates of alf businesses in which the debtor was an officer, director, partner, or managing executive
of a corporation, partnership, sole proprietorship, or was a self-employed professional within the six years immediately
preceding the commencement of this case, or in which the debtor owned 5 percent or more of the voting or equity securities
within the six years immediately preceding the commencement of this case.

If the debtor is a partnership, ist the names, addresses, taxpayer identification numbers, nature of the
business, and beginning and ending dates of all businesses in which the debtor was a partner or owned 5
percent or more of the voting or equity securities within the six years immediately preceding the
commencernent of this case.

Hf the debtor is a corporation, list the names, addresses, taxpayer identification numbers, nature of the
business, and beginning and ending dates of al) businesses in which the debtor was a partner or owned 5
percent or more of the voting or equity securities within the six years immediately preceding the

 

commencement of this case.
TAXPAYER BEGINNING AND ENDING
NAME LD. NUMBER ADDRESS NATURE OF BUSINESS DATES
b. Identify any business listed in response to subdivision a., above, that is “single asset real estate" as defined in 11
U.S.C. § 101.
NAME ADDRESS

 

ae ee Ke OF

[if completed by an individual or individual and spouse}

\ declare under penalty of perjury that | have read the answers contained in the foregoing statement
of financial affairs and any attachments thereto and that they are true and correct.

Date 3-/f-Os Signature x bse? wt. ‘A LU DE er.
of Debtor

 

Gerald Alan Inman

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CERTIFICATION AND SIGNATURE OF NON-ATTORNEY BANKRUPTCY PETITION PREPARER (See 11 U.S.C § 110)

| cartify that {am a bankruptcy petition praparer as defined in 41 U.S.C § 110, that | prepared this document for compensation,
and that | have provided the debtor with a copy of this document.

 

 

Ann Shipley 502-868-7719
Printed or Typed Name of Bankruptey Petition Preparer Social Security Number

(Required by 11 U.S.C. § 11G(c).}
616 Jason Avenue North

 

Kent, WA 98030

 

 

Address

Names and Social Security numbers of all other individuals who prepared or assisted in preparing this document.
NAME SOCIAL SECURITY NUMBER
Magen Merkle 539-0§-8548

if more than one persan prepared this document, attach additional signed sheets conforming to the appropriate Official Form for

x i ‘ Shapley, 2H Oo

 

rt
Ann Shipley Date
§ 156.

A bankruptcy pettion rer's failure to comply with fe provisions of ite 17 and the Federal Rujés of Bankruptcy Procedure may result in fines or imprisonment or both.
1USCE 11 18 use ¥

CERTIFICATION GF NON-ATTORNEY BANKRUPTCY PETITION PREPARER (See 11 U.S.C. § 110)
1 certify that | am a bankruptcy petitioner preparer as defined in 11 U.S.C. § 110, that! prepared this document for compensation,
and that f have provided the debtor with a copy of this document.

 

 

Magen Merkle XXX-XX-XXXX
Printed or Typed Name of Bankruptcy Petition Preparer Social Security Number
616 Jason Avenue North (Required by 11 U.S.C. § 110{¢),)

 

 

Kent, WA 986030

 

 

 

A bankruptcy petition prepa: failure to comply with the provisions of litle H and the Pederal Ruies of Bankruptcy Procedure may result in fines or imprisonment or bot}.
MUSH 1 TE USC. § 186

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UNITED STATES BANKRUPTCY COURT
Western District of Washington

In re: Geraid Alan inman Case No.
1067 Chapter 7

VERIFICATION OF CREDITOR MATRIX

The above named debtor(s), or debtor's attomey if applicable, do hereby certify under penalty of perjury that the
attached Masier Mailing List of creditors, consisting of 4 sheei(s) is complete, correct and consistent with the
debtor's schedules pursuant to Local Bankruptey Rules and tAve assume ail responsibility for errors and omissions.

oat _ 3 -/S-O5~ some XL A, Vn
Gerald Alan Inman
Signed: Qua Sha pliad/

Ann Shipley
Social SecurityNo. $02-88-7719

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AAA Collectors, Inc.
2950 North Academy Bivd.
Colorado Springs, CO 80917

Albertson's
26100 Pacific Highway South
Kent, WA 98032

Allied Credit/ Alliance
717 Constitution Drive
Fxton, PA 19341

Angela’s Restaurant
807 Marina Village Parkway
Alameda, CA 94501

Benificial
P.O. Box 1547
Chesapeake, VA 23327

Benificial
2700 Sanders Road
Prospect Heights, IL 60070

Benificial / HFC
P.O, Box 5985
Bridgewater, NJ 23327

Creditors Specialty SE
P.O. Box 764
Acton, CA 93510

Fife Municipal Court
3737 Pacific Highway East
Tacoma, WA 98424

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First USA Bank
P.O. box 86590
Wilmington, DE 19399

Fred Meyer
10201 Southeast 240th
Kent, WA 98032

GEMB / Mervyn's
P.O. Box 981400
El Paso, TX 79998

HHLD Bank
P.O. Box 98706
Las Vegas, NV 89193

HSBC / Eagle
200 enificial Center
Peapack, Nd 07977

Internal Revenue Service
Ogden, UT 84201

OSI Collections Services
P.O. Box 976
Brookfiel, WI 53008

Pacific Northwest Collection
819 Pacific Avenue
Tacoma, WA 98402

Park Medows Apartments
10550 Lake City Way
Seattle, WA 98125

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Patric Beug, DDS
2802 South Meridian
Puyaliup, WA 98373

Pierce District Court
1902 96th Street South
Tacoma, WA 98444

Providian Bank Corp
4940 Johnson DR
Pleasington, CA 94566

Safeway
17051 Southeast 272nd Street
Covington, WA 38042

SCA Credit Inc.
P.O. Box 5757
Bellevue, WA 98008

Seattle Service Buréau
18820 Aurora Avenue
Shoreline, WA 98133

Signature Bail Bond
428 Elm
Republic, WA 99166

Sound Credit Union
P.O. Box 1595
Tacoma, WA 98401

Summit Trading
10409 Canyon Road Fast
Puyallup, WA 98373

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Trojan Professional Service
P.O. Box 1270
Los Alamos, CA 90720

Westop Credit Union
2806 East Portland Avenue
Tacoma, WA 98404

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Official Form §
(12/03)
UNITED STATES BANKRUPTCY COURT
Western District of Washington
Inve: Gerald Alan Inman Case No.
4087 Chapter 7

CHAPTER 7 INDIVIDUAL DEBTOR'S STATEMENT OF INTENTION

1. | have filed a schedule of assets and liabilities which includes consumer debts secured by property of the estate.
2. | intend to do the following with respect to the property of the estate which secures those consumer debts:
a. Property. To Be Surrendered.

 

 

Description of Property Greditor's Name
None
b. Property To Be Retained. [Check any applicable statement}
‘| Property will Debt will be
Description Property be redeemed reaffirmed
Creditors ig claimed | pursuant to pursuant to
Property Name asexempt | 11U.S.C.§ 722 | 11US.C.§524(c) | a.
None | | |
bates 6 -/S- OS XS Loune?
Signature of Debtor

CERTIFICATION OF NON-ATTORNEY BANKRUPTCY PETITION PREPARER (See 14 U.S.C. § 110)

| certify that | am a bankruptcy petitioner preparer as defined in 171 U.S.C. § 110, that | prepared this document for
compensation, and that { have provided the debtor with a copy of this document.

 

Ann Shipley §02-88-7719
Printed or Typed Name of Bankrupicy Petition Preparer Social Security Number

616 Jason Avenue North (Required by 11 U.S.C. § 110{c).}
Kent, W. 30

Address

Names and Socia! Security Numbers of all other individuals who prepared or assisted in preparing this document.
NAME SOCIAL SECURITY NUMBER
Magen Merkle XXX-XX-XXXX

If more than one person prépared this document, attach additional signed sheets conforming ic tha appropriate Official Form
for each person.

x \am Spl 4-14-03
Signature of Bankruptcy Petition Prgbarer Date

A bankruptcy petition preparers Failure to comply with the provisions of tite 11 and the Federal Rules of Bankruptey Procedure may resuit in fines
or imprisonment or both. 11 U.S.C. § 170; 18 U.S.C. § 156.

Case 05-43169-PBS Doci1_ Filed 04/07/05 Ent. 04/08/05 09:26:59 Pg. 41 of 45
UNITED STATES BANKRUPTCY COURT
Western District of Washington

In re: Gerald Alan Inman Case No.
Chapter 7

Debtor
Address :1105 15th Street Northwest, Puyallup, WA 98371

Social Security No(s},:1067
Employer's Tax Identification No(s). {if any]:

DISCLOSURE OF COMPENSATION

41. Under 11 U.S. ©. § 110{h), | declare under penalty of perjury that | am not an attorney or employee of an attomey, that t
prepared er caused to be prepared one or more documents for filing by the above-named debtor(s} in connection with this
bankruptcy case, and that compensation paid to me within one year before the filing of the bankruptcy petition, or agreed to be
paid to me, for services rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as
follows:

For document preparation services, | have agreed to accept $ 306.00
Prior to the filing of this statement | have received 3 300.00
Balance Due $ 0.00

2. Ehave prepared or caused to be prepared the following documents (itemize):
Bankruptcy Schedules
and provided the following services (itemize):
NIA
3. The source of the compensation paid to me was:
Debtor [3 other (specify)
4. The source cf compensation to be paid to me is:

C1 debtor CO other (specify)

5. The foregoing is a complete statement of any agreement of arrangement for payment to me for preparation of the petition filed by
the debtor(s) in this bankruptcy case.

6. To my knowledge no other person has prepared for compensation a document for filing in connection with this bankruptcy case
except as listed below:

NAME SOCIAL SECURITY NUMBER

Magen Merkle XXX-XX-XXXX
DECLARATION OF BANKRUPTCY PETITION PREPARER

| declare under penalty of perjury that the foregoing is true and correct to the best of my knowledge, information, and belief.

X Cw Shu plug XXX-XX-XXXX 3 -14- gS

Social Se ay No. Date
equi 11 U.S.C, & 140(c).
Name(Print): Ann Shipley 8

Address: 616 Jason Avenue North

 

 

Kent, WA $8030

 

 

 

A bankruptcy petition preparer's failure to comply with the provisions of title 11 and the Federal Rutes of Bankruptey Procedure may result in
fines or imprisonment or both. 11 U. S.C. § 410; 18U. S.C. § 156.

Case 05-43169-PBS Doc-1 Filed 04/07/05 Ent. 04/08/05 09:26:59 Pg. 42 of 45
CERTIFICATION OF NON-ATTORNEY BANKRUPTCY PETITION PREPARER (See 11 U.S.C. § 110)

| certify that | am a bankruptcy petitioner preparer as defined in 11 U.S.C. § 110, that I prepared this dacument for compensation,
and that | have provided the debtor with a copy of this document

 

 

 

 

Magen Merkle XXX-XX-XXXX
Printed or Typed Name of Bankruptcy Petition Preparer Social Security Number
616 Jason Avenue North (Required by 11 U.S.C. § 110(c).}
Kent, WA_ 98030
Address
Sighature of Bankruptcy Petition Preparer Date

A bankruptcy petition preparer’s failure to comply with the provisions of fitte 11 and the Federal Rules of Bankruptcy Procedure may result in fines
or imprisonment or both. 11 ULS.C. § 110; 18 U.S.C. § 156.

Case 05-43169-PBS Doc1 Filed 04/07/05 Ent. 04/08/05 09:26:59 Pg. 43 of 45
Form B19
(12/03)
UNITED STATES BANKRUPTCY COURT
Western District of Washington
Inve: = Gerald Alan Inman , Gase No.

 

Debtor(s) Chapter 7

CERTIFICATION AND SIGNATURE OF NON-ATTORNEY
BANKRUPTCY PETITION PREPARER (See 11 U.S.C. § 110)

| certify that 1 am a bankruptcy petition preparer as defined in 11 U.S.C. §110, that | prepared this document for compensation,
and that | have provided the debtor with a copy of this document.

Ann Shipley

Printed or Typed Name of Bankruptcy Petition Preparer
§02-88-7719

Social Security No.

(Required by 41 U.S.C. §110(c).)

616 Jason Avenue North

Kent, WA 98030
Address

 

 

Names and Social Security numbers of alt other individuals who prepared or assisted in preparing this document:

NAME SOCIAL SECURITY NUMBER
Magen Merkle §39.06-8548

If more than one person prepared this document, attach additional signed sheets conforming to the appropriate Official Form for each
person.
+
« Ohaus Ayigliy 3-14-05
Ann Shipley ‘ ( Date

A bankruptcy petition preparer’s failure to comply with the provisions of tile 11 and the Federa! Rules. of Bankruptcy Procedure may rasul in fines or imprisonment or both.
11: U.S.C. §140; 18 U.8-C. § 156.

CERTIFICATION AND SIGNATURE OF NON-ATTORNEY BANKRUPTCY PETITION PREPARER (See 11 U.S.C. § 110)

| certify that | am a bankruptcy petition preparer as defined in 11 U.S.C. §110, that I prepared this document for compensation,
and that | have provided the debtor with a copy of this document.

 

Magen Merkie §39-06-8548
Printed ar Typed Name of Bankruptcy Petition Preparer Social Security No.
616 Jason Avenue North (Required by 11 U.S.C. §110(c).}

 

Kent, WA 98030

 

 

Addrass

, : Lid {0

Magen Merkle

A bankruptcy petition preparer's fallure to comply with the provisions of title #1 and the Federal Rules of Bankruptcy Procedure mau nesufl in fines or imprisonment or both.
11 U.S.C §116; 18 U.S.C. § 156.

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OFFICE OF THE CLERK
UNITED STATES BANKRUPTCY COURT
WESTERN DISTRICT OF WASHINGTON

NOTICE TO INDIVIDUAL CONSUMER DEBTOR

Case Name: Case No:

Gerald Alan inman

If you intend to file a petition under the federal Bankruptcy Cade, and your debts are primarily consumer
debts, the clerk of the court is requited, pursuant to 11 U.S.C, sec. 342(b), to notify you of the following
chapters under which you may file:

CHAPTER? - LIQUIDATION of

CHAPTER 11 - REORGANIZATION or

CHAPTER 13 - ADJUSTMENT OF DEBTS OF AN
INDIVIDUAL WITH REGULAR INCOME

If you have any questions regarding this notice, you should consult with an attorney.

MARK L. HATCHER
Clerk of the Bankruptcy Court

ACKNOWLEDGEMENT
| certify that | have read this notice.
paTeED _ 3° /Y>OS7 ebro ah A
D R

INSTRUCTIONS: Ifthe debtor is an individual, a copy of this notice, personally signed by the debtor, must
accompany any bankruptcy petition filed with the clerk. Hf filed by joint debtors, the notice must be
personally signed by each.

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